                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA

DANA GOOT,                                         §
                                                   §
     Plaintiffs,
                                                   §
                                                   §
v.                                                            CASE NO. 1:19-cv-03575-TWP-TAB
                                                   §
                                                   §
                                                   §
HARRIS & HARRIS, LTD.,
                                                   §
     Defendant.                                    §

                           DEFENDANT HARRIS & HARRIS, LTD.’S
                           ANSWER TO PLAINTIFF’S COMPLAINT

                                        INTRODUCTION

         Defendant Harris & Harris, Ltd. (“Defendant” or “Harris”) files its Answer to Plaintiff

Dana Good (“Plaintiff”)’s Complaint as follows:

1.       Allegation: As per Fair Debt Collection Practices Act, a claim of harassment.

         Answer: Defendant denies this allegation.

2.       Allegation: The Plaintiff demands judgment against the Defendant for $1000.00, plus

interest from the date of Aug 7, 2019, at the rate of 8%, and the court costs of this action.

         Answer: Defendant denies any violation occurred and further denies Plaintiff is entitled

to the relief requested.

                                  AFFIRMATIVE DEFENSES

3.       Any violation, if it occurred, was the result of a bona fide error notwithstanding

procedures reasonably adapted to avoid such an error.

4.       Plaintiff’s damages, if any, are the result of the actions of third parties over whom

Defendant has no control.

5.       Plaintiff’s damages, if any, were pre-existing damages not caused by Defendant.


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6.     Plaintiff has failed to mitigate damages, if any.

7.     Plaintiff proximately caused her own damages, if any.

8.     Plaintiffs have not suffered a concrete, injury-in-fact.

       Considering the above, Defendant Harris and Harris, Ltd. respectfully requests that

Plaintiff take nothing herein, that Defendant be dismissed with its costs, and all other and further

relief, at law or in equity, to which Defendant may be justly entitled.


Dated: September 7, 2019                              Respectfully Submitted,

                                                      MALONE FROST MARTIN, PLLC

                                                      Attorneys for Defendant

                                                      /s/ PATRICK A. WATTS
                                                      Patrick A. Watts
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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing document has
been forwarded via CM/RRR and first class mail on this 7th day of September 2019, to the
following party:

       Dana Goot
       1001 Fawn View Drive
       Carmel, IN 46032
       (317)566-8991
                                                  /s/ PATRICK A. WATTS
                                                    PATRICK A. WATTS




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